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 6                                UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

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 9     GERALD CARLIN, JOHN RAHM, PAUL                        CASE NO. 1:09-CV-0430 AWI-EPG
       ROZWADOWSKI and DIANA WOLFE,
10     individually and on behalf of themselves
       and all other similarly situated,                     ORDER GRANTING PLAINTIFFS’
11                                                           REQUEST TO SEAL DOCUMENT AND
                              Plaintiffs,                    FILE REDACTED VERSION
12
                      v.                                     (Doc. No. 552)
13
       DAIRYAMERICA, INC., and
14     CALIFORNIA DAIRIES, INC.
15                            Defendants
16

17           This matter comes before the Court on the Plaintiffs’ Request to Seal Document and File

18    Redacted Version under Local Rules 140 and 141. Doc. No. 552.
19           Upon consideration of the Request, and good cause appearing, the Request is GRANTED.

20    See In re Online DVD-Rental Antitrust Litigation, 779 F.3d 934, 948 (9th Cir. 2015) (finding no

21    abuse of discretion where the trial court sealed “[o]nly the exact threshold” of the opt-out

22    provision); Thomas v. Magnachip Semiconductor Corp., 2016 WL 3879193, at *7 (N.D. Cal. July

23    18, 2016) (“There are compelling reasons to keep [the opt-out percentage] confidential, in order

24    to prevent third parties from utilizing it for the improper purpose of obstructing the settlement.”).

25                                                  ORDER

26           Accordingly, IT IS HEREBY ORDERED that Plaintiffs are permitted to file a redacted
27    version of the Confidential Side Letter, attached as Exhibit B to Plaintiffs’ Memorandum in Support

28    of the Unopposed Motion for Preliminary Approval of Class Action Settlement on the public docket.
      [1:09-CV-00430-AWI (EPG)] [PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL
      DOCUMENT AND FILE REDACTED VERSION
     Case 1:09-cv-00430-AWI-EPG Document 554 Filed 08/13/18 Page 2 of 2



 1    Plaintiffs will email the unredacted version of the document to ApprovedSealed@caed.uscourts.gov

 2    for filing under seal. Only the parties’ counsel of record, the Court and its staff shall have access to

 3    the unredacted document.

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      IT IS SO ORDERED.
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 6    Dated:   August 13, 2018
                                                     SENIOR DISTRICT JUDGE
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      [1:09-CV-00430-AWI (EPG)] [PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST TO SEAL
      DOCUMENT AND FILE REDACTED VERSION                                                                    1
